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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION



UNITED STATES OF AMERICA                                                     PLAINTIFF


v.                             NO. 4:13CR00219-02 SWW


PEARL LEATHA PARKER                                                         DEFENDANT




                                        ORDER


      The Government has filed the pending motion to revoke. See Document 51. In the

motion, the Government asks the Court to issue a summons for defendant Pearl Leatha

Parker (“Parker”) and schedule a hearing for her to appear and show cause why her

conditions of release should not be revoked. The Court has reviewed the motion and finds

that it should be, and is, granted.

      The Clerk of the Court shall issue a summons. The summons shall contain the date,

time, and place of the hearing on the Government’s motion to revoke Parker’s conditions

of release.

      The hearing on the motion to revoke Parker’s conditions of release will be held

beginning at 2:00 p.m. on Wednesday, December 11, 2013, in Courtroom 2B of the

Richard S. Arnold United States Courthouse in Little Rock, Arkansas.
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      The portion of the motion seeking the actual revocation of Parker’s conditions of

release remains pending before the Court.

      IT IS SO ORDERED this    8     day of November, 2013.




                                            UNITED STATES MAGISTRATE JUDGE




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